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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Criminal Action No. 19-cr-00086-REB


UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. DAMIEN LEWIS;
2 BRAINARD CLARK; and,
3. DAVID WINSTON;

       Defendants.



                    WRIT OF HABEAS CORPUS AD PROSEQUENDUM


       TO THE UNITED STATES MARSHAL FOR THE DISTRICT OF COLORADO, OR

TO ANY OTHER UNITED STATES MARSHAL, OR TO ANY OTHER FEDERAL LAW

ENFORCEMENT OFFICER AND TO ANY AUTHORIZED OFFICER IN WHOSE

CUSTODY THE DEFENDANT MAY BE HELD:

       This Writ is issued upon Order of the United States District Court for the District of

Colorado. I hereby command that you bring the body of BRAINARD CLARK, YOB: 1994,

DOC Number 183409 is now confined at Crowley County Correctional Facility, 6564 CO-96,

Olney Springs, CO 81062, to the United States District Court Judge in the above-captioned case

forthwith, for an initial appearance, and hold him at all times in custody as an agent of the United

States of America until final disposition of the Defendant's case.
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      DATED at Denver, Colorado, this ___ day of January, 2020.

                                  BY THE COURT:



                                  CLERK, UNITED STATES DISTRICT COURT




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